      Case 2:14-cv-02490-ROS Document 190 Filed 03/29/18 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   John J Hurry, et al.,                            NO. CV-14-02490-PHX-ROS
10                  Plaintiffs,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
12   Financial Industry Regulatory Authority
     Incorporated, et al.,
13
                    Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   March 29, 2018, which granted the Motion for Summary Judgment, judgment is entered
19   in favor of Defendants and against Plaintiffs. Plaintiffs to take nothing, and the complaint
20   and action are hereby terminated.
21                                             Brian D. Karth
                                               District Court Executive/Clerk of Court
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23   March 29, 2018
                                               s/ E. Aragon
24                                       By    Deputy Clerk
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